          Case 2:17-cv-03821-JJT Document 26 Filed 01/18/18 Page 1 of 1



 1                                  NOT FOR PUBLICATION
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Tanya Hamm,                                     No. CV-17-03821-PHX-JJT
10                 Plaintiff,                        ORDER
11   v.
12   Equifax Information Services LLC, et al.,
13                 Defendants.
14
15           A Notice of Settlement as to Defendant Synchrony Bank, Only (Doc. 25) having
16   been filed,
17           IT IS ORDERED that this matter will be dismissed with prejudice as to Defendant
18   Synchrony Bank only, 60 days after the docketing of this order unless the Plaintiff or
19   Defendant Synchrony Bank files a stipulation to dismiss prior to that date. The settlement
20   constitutes an accord which has extinguished the underlying claim as to these two parties
21   only. All pending hearings and motions relating to Plaintiff and Defendant Synchrony
22   Bank are deemed moot.
23           Dated this 18th day of January, 2018.
24
25
                                          Honorable John J. Tuchi
26                                        United States District Judge
27
28
